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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

  EARTH SCIENCE TECH, INC.,

                          Plaintiff,

  v.                                                   Case No. 9:14-cv-81622-RLR

  CROMOGEN BIOTECHNOLOGY
  CORPORATION, et al.,
                          Defendants.


                AMENDED1 MOTION TO RE-OPEN CASE AND LIFT STAY,
             CONFIRM FINAL ARBITRAL AWARD, AND DISMISS COMPLAINT

           Defendant Cromogen Biotechnology Corporation (“Cromogen”), through its counsel,

  respectfully submits this Motion to Re-Open Case and Lift Stay pursuant to this Court’s Order

  dated January 23, 2015. ECF No. 5. Cromogen also moves to confirm a final arbitral award

  pursuant to the Federal Arbitration Act (“FAA”), 9 U.S.C. § 1 et seq. The award was rendered in

  favor of Defendant Cromogen and against Plaintiff Earth Science Tech, Inc. (“Plaintiff” or

  “EST”) on June 8, 2018 by an arbitral tribunal seated in New York, New York. The Court should

  confirm the award and dismiss Plaintiff’s Complaint based on the doctrines of res judicata and

  collateral estoppel.

                                          BACKGROUND

           This action, which was originally filed in Florida state court on November 25, 2014,

  primarily concerns the business relationship between Plaintiff and Defendant Cromogen. See

  Complaint, ECF No. 1-2. Plaintiff alleged that Cromogen breached a Distribution Agreement for

  CBD-rich hemp oil (the “Distribution Agreement”), a dietary and medical supplement, by


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      Amended only to incorporate Local Rule 7.1(a)(3) Certificate of Good Faith Conference.
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  providing oil that purportedly did not meet the concentrations required by the Distribution

  Agreement. Id. ¶ 14. Plaintiff further alleged that the individual defendants, who are Cromogen’s

  executives, purportedly misinformed Plaintiff about quality analysis of the product. Id. ¶ 27.

  Plaintiff also sued Impact UA, Inc., (“Impact UA”) a company related to one of the individual

  defendants, alleging that it was somehow complicit in the purported wrongdoings. Id. ¶ 39.

  Though Plaintiff sued multiple defendants, the true dispute was always between Plaintiff and

  Defendant Cromogen.

         The Distribution Agreement between Plaintiff and Defendant Cromogen contained an

  explicit arbitration clause stating as follows:

                 ARBITRATION CLAUSE:

                 Governing Law and Venue. This Agreement and performance by
                 the parties hereunder shall be construed in accordance with the
                 laws of the State of New York, U.S.A., without regard to
                 provisions on the conflict of laws. Both parties submit to exclusive
                 International Arbitration through JAMS International using
                 UNCITRAL Rules in New York, NY. U.N. Convention on
                 International Sale of Goods shall not apply to this Agreement.

  ECF No. 1-2, Exh. A, p. 6 (a copy of the Distribution Agreement is also attached to this Motion

  as Exhibit “A”).

         The only defendant served with the original Florida state court action was Defendant

  Impact UA. No other defendants have been served. Accordingly, it was Impact UA, which

  removed this case to this Court. See Notice of Removal, ECF No. 1. On January 7, 2014,

  Defendant Impact UA filed a Motion to Dismiss or, Alternatively, to Compel Arbitration and For

  a Stay, in part, based on the stay provision of the Federal Arbitration Act, 9 U.S.C. § 1 et seq.

  ECF No. 3. On January 23, 2015, this Court issued a Consent Order and stayed the matter in all

  respects until such time as the parties notify the Court that arbitration proceedings have

  concluded. ECF No. 5. The Court stated that this “case shall be re-opened upon motion by any



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  Party.” Id. This Court also noted that the parties “have agreed that it is appropriate under the

  circumstances to stay this proceeding in full until arbitration proceedings conclude and to hold

  the Motion to Dismiss in abeyance until that time.” Id. at 1.

         Arbitration was commenced and pursued by Defendant Cromogen, which was a party to

  the Distribution Agreement and which is now filing the present Motion. Arbitrators were

  selected by the Plaintiff and Defendant Cromogen, and the Presiding Arbitrator (collectively the

  “Tribunal”) was appointed on February 25, 2015. After an extensive exchange of pleadings and

  submission of witness statements and expert reports, the Tribunal held a five-day hearing

  between November 30, 2015 and December 4, 2015 at JAMS in New York City. Closing

  arguments were held at a later date. Due to various delays, the closing arguments were ultimately

  heard in May and June of 2017 via videoconference. At the hearing, both parties, through

  counsel, presented their arguments and evidence to the Tribunal.

         The Tribunal issued a final award on June 8, 2018. A true and correct copy of the final

  award is attached hereto as Exhibit “B” (to be filed under seal pending Court approval)2 (the

  “Final Award”). In its 42-page carefully reasoned opinion, the Tribunal ruled in favor of

  Cromogen with respect to its claims for breach of contract, conversion, and tortious interference,

  and denied Plaintiff’s claim for breach of contract against Cromogen. Consequently, the Tribunal

  ordered Plaintiff to pay Cromogen the following amounts:

                 a. [Paragraph 142 of the Final Award -- Redacted]

                 b. [Paragraph 143 of the Final Award -- Redacted]

                 c. [Paragraph 144 of the Final Award -- Redacted]



  2
   Cromogen has contemporaneously filed a Motion to File Final Arbitration Award Under Seal.
  Should the Court grant this motion, Cromogen will then file the Final Arbitration Award as pre-
  scribed in the Local Rule 5.4(b) and the CM/ECF Administrative Procedures.



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                 d. [Paragraph 148 of the Final Award -- Redacted]

         The Final Award became binding on the parties upon issuance. See UNCITRAL

  Arbitration Rules, Art. 34(2) (“All awards shall be … final and binding on the parties. The

  parties shall carry out all awards without delay.”). On June 18, 2018, Cromogen sent a letter to

  Plaintiff seeking voluntary compliance with the Final Award. However, to date, Plaintiff has

  failed to satisfy the Final Award.3 Defendant Cromogen is now seeking to re-open the case and

  lift the stay in order to confirm the Final Award against Plaintiff and to dismiss the Complaint.

                                            DISCUSSION

  A.     The Court Should Re-Open this Case and Lift the Stay

         Because arbitration proceeding has been concluded, Defendant Cromogen respectfully

  requests this Court to re-open this case and lift the stay pursuant to this Court’s Order dated Jan-

  uary 23, 2015 (ECF No. 5) in order to pursue confirmation of the Final Award and dismissal of

  the Plaintiff’s Complaint.

  B.     The Final Award Should Be Confirmed Pursuant to the Provisions of the
         Panama Convention and Its Implementing Legislation

         The Final Award falls under the Panama Convention and implementing sections of the

  FAA, which requires confirmation of international arbitral awards, and none of the grounds per-

  mitted by the Panama Convention for refusal to confirm apply in this case.

         1.      The Final Award Falls Under the Panama Convention

         The Inter-American Convention on International Commercial Arbitration (opened for

  signature Jan. 30, 1975, O.A.S.T.S. No. 42, 1438 U.N.T.S. 245) (the “Panama Convention”),



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            On July 16, 2018, Plaintiff submitted an application to the Tribunal requesting to correct
  an alleged “computation error” in determining the amount of damages. Defendant Cromogen ob-
  jected to the Plaintiff’s application. On August 2, 2018, the Tribunal’s denied Plaintiff’s applica-
  tion.




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  incorporated by reference in 9 U.S.C. § 302, applies to the confirmation of the award in this case

  because Defendant Cromogen is a citizen of El Salvador and Plaintiff is a citizen of the United

  States, id. ¶¶ 2-3, and both El Salvador and the United States are parties to the Panama

  Convention, see General Information of the Treaty, http://www.oas.org/juridico/english/sigs/b-

  35.html.

         An award falls under the Panama Convention, if: (i) the award arises from a

  “commercial” relationship; (ii) the award concerns a defined legal relationship, whether

  contractual or not; and (iii) the award arises out of the relationship, which is not entirely between

  the citizens of the United States. See 9 U.S.C. § 202 incorporated in 9 U.S.C. § 302; see also

  Restatement (Third) U.S. Law of Int’l Comm. Arb. § 1-1 cmt. h (Am. Law Inst., Tentative Draft

  No. 1, 2010).

         Here, all three prongs of Section 202 are easily satisfied. First, the Final Award arose out

  of a commercial relationship involving Defendant Cromogen’s agreement to designate Plaintiff

  as its exclusive distributor to formulate, market and sell CBD (Cannabidiol) rich hemp oil to

  public companies trading on the OTC/Pink Sheet exchanges. See Final Award ¶ 1. Second, the

  Final Award clearly concerned a defined legal relationship between Defendant and Plaintiff—the

  Tribunal found that Plaintiff breached both contractual and non-contractual duties to Defendant

  Cromogen based on Plaintiff’s failure to pay for shipments already made as well as for

  conversion and tortious interference. Id. ¶¶ 85, 111, and 120.

         Accordingly, the Final Award falls under the Panama Convention and should be

  confirmed in an expedited manner in accordance with its terms and applicable provisions of the

  FAA.




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         2.      The Panama Convention Requires a Court to Confirm the Final Award in an
                 Expedited and Summary Proceeding

         The Panama Convention confers international arbitration awards the “force of a final

  judicial judgment.” Panama Convention art. 4. Section 207 of the FAA, which provides for

  confirmation of awards under the Panama Convention, requires a court to confirm the award

  only subject to limited grounds for refusal specified in the convention. Id. incorporated in 9

  U.S.C. § 302; see EGI-VSR, LLC v. Coderch Mitjans, No. 15-20098-CIV, 2018 WL 2465345, at

  *2 (S.D. Fla. June 1, 2018) (Scola, J.) (“confirmation of an arbitral award falling under the

  Panama Convention is mandatory unless a court finds one of the grounds for refusal or deferral

  of recognition or enforcement of the award specified in the said Convention”) (quotations and

  citations omitted).

          “A district court’s review of a foreign arbitration award is quite circumscribed” and

  “there is a general pro-enforcement bias manifested in the Convention.” Four Seasons Hotels &

  Resorts B.V. v. Consorcio Barr, S.A., 613 F. Supp. 2d 1362, 1366, 1367 (S.D. Fla. 2009) (Moore,

  J.) (quotations and alterations omitted). The confirmation of an arbitral award under the Panama

  Convention is intended to be an expedited and summary procedure. See Empresa De

  Telecommunicaciones De Bogota S.A. E.S.P. v. Mercury Telco Grp., Inc., 670 F. Supp. 2d 1357,

  1361 (S.D. Fla. 2009) (Marra, J.).

         The Eleventh Circuit has explained that “[t]he Convention, and American enforcement of

  it through the FAA, ‘provide[] businesses with a widely used system through which to obtain

  domestic enforcement of international commercial arbitration awards resolving contract and

  other transactional disputes, subject only to minimal standards of domestic judicial review for

  basic fairness and consistency with national public policy.’” Indus. Risk Insurers v. M.A.N.




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  Gutehoffnungshutte GmbH, 141 F.3d 1434, 1440 (11th Cir. 1998).4 “[R]eview of arbitration

  decisions by the courts is ‘extremely narrow and exceedingly deferential’ . . . In fact, ‘[j]udicial

  review of arbitration awards is among the narrowest known in the law.’” First State Ins. Co. v.

  Banco de Seguros del Estado, 254 F.3d 354, 357 (1st Cir. 2001) (quotations and citations

  omitted).

         In sum, because the Final Award falls under the Panama Convention, its confirmation

  should occur on an expedited basis and is subject only to the limited exceptions set out explicitly

  by the treaty.

         3.        Plaintiff Cannot Establish Any of the Grounds for Refusal to Confirm Recog-
                   nized by the Panama Convention

         This Court should confirm the Final Award because it is subject to the Panama Conven-

  tion, and none of the limited grounds permitted for refusal to confirm are applicable. Again, Sec-

  tion 207 of the FAA provides that the federal courts should confirm a foreign arbitration award

  “unless it finds one of the grounds for refusal or deferral of recognition or enforcement of the

  award specified in” the Panama Convention. 9 U.S.C. § 207 incorporated in 9 U.S.C. § 302; see

  Indus. Risk Insurers v. M.A.N. Gutcheffungshutte GmbH, 141 F.3d. 1434, 1441 (11th Cir. 1998).

         Article 5 sets forth an exhaustive list of the grounds on which a court may refuse

  recognition and execution. Panama Convention art. 5. These grounds can be described generally

  as: (a) incapacity of the parties or invalidity of the arbitration agreement, (b) denial of due

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           Although the Industrial Risk Insurance case was decided under the Convention on the
  Recognition and Enforcement of Foreign Arbitral Awards (the “New York Convention”) rather
  than the Panama Convention, both treaties are analogous. Because “[t]here is no substantive dif-
  ference between [the Panama Convention and the New York Convention],” Corporacion Mexi-
  cana De Mantenimiento Integral, S. De R.L. De C.V. v. Pemex-Exploracion Y Produccion, 832
  F.3d 92, 105 (2d Cir. 2016), cert. dismissed, 137 S. Ct. 1622 (2017), “precedents under one are
  generally applicable to the other,” Coporacion Mexicana de Mantenimiento Integral, S. de R.L.
  de C.V. v. Pemex-Exploracion y Produccion, 962 F. Supp. 2d 642, 654 (S.D.N.Y. 2013) (citing
  Productos Mercantiles e Industriales, S.A. v. Faberge USA, Inc., 23 F.3d 41, 45 (2d Cir. 1994)).




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  process, (c) an award rendered in excess of authority, (d) failure to conduct the arbitration in

  accordance with the parties’ agreement or, in the absence of agreement, with the law of the

  arbitral site, and (e) the award is not binding or has been annulled or suspended in the country of

  origin. Id., art. 5(1). A court where confirmation is sought may also refuse recognition if, under

  the law of that State, the dispute was not arbitrable or the award contravenes public policy. Id., at

  5(2); see Empresa De Telecom. De Bogota, 670 F. Supp. 2d at 1361-62. Article 5 makes it clear

  that the party opposing confirmation of an award bears the burden of proof in any challenge to its

  validity. See Empresa De Telecom. De Bogota, 670 F. Supp. 2d at 1361-62.

         None of the grounds for refusing recognition of a final award pursuant to the Panama

  Convention exists in this case. First, the parties’ agreement to arbitrate is clearly valid and

  neither party was under some incapacity. In fact, Plaintiff itself used the Distribution Agreement

  as a basis for bringing claims against defendants in this action. See ECF No. 1-2 at 3. Second,

  Plaintiff was given a proper notice and participated in the arbitration proceeding through counsel,

  Final Award ¶ 3, submitted witness statements and an expert report, id. ¶ 13, and presented its

  case at the hearing, id. ¶ 14, which lasted for five days followed by closing arguments held by

  telephonic conference, id. ¶ 15. Third, the Final Award is limited in scope only to those issues

  raised by the parties and properly subject to arbitration under the terms of the parties’ arbitration

  clause.5 Fourth, the composition of the Tribunal was in accordance with the agreement of the

  parties, which called for the arbitration to be administered by JAMS International using

  UNCITRAL Rules. Id. ¶¶ 5, 7. Fifth, the Final Award became binding on the parties

  immediately when issued. See UNCITRAL Arbitration Rules, Art. 34(2) (“All awards shall be

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            Plaintiff challenged the authority of the Tribunal to hear conversion and tortious inter-
  ference claims, Final Award ¶ 96, but the Tribunal rejected Plaintiff’s contention, id. ¶ 99, hold-
  ing that these claims fall within the scope of the Arbitration Clause and are subject to Tribunal’s
  arbitral jurisdiction, id. ¶¶ 103.




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  … final and binding on the parties. The parties shall carry out all awards without delay.”). The

  Final Award has not been annulled or suspended. Sixth, the subject matter of the parties’

  dispute—claims arising out of the Distribution Agreement—is undeniably capable of settlement

  by arbitration.

         Importantly, confirmation of the Final Award would be in keeping with public policy in

  the United States, which favors honoring parties’ contractual agreements, and would not be

  contrary to any “explicit public policy” that is “well-defined and dominant … [and is]

  ascertained ‘by reference to the laws and legal precedents and not from general consideration of

  supposed public interests.’” Indus. Risk, 141 F.3d at 1445.

         Ultimately, the Plaintiff cannot set forth a sufficient basis upon which any of the

  aforementioned exceptions would apply in this case. As such, nothing prevents this Court from

  confirming the Final Award, and the Panama Convention and applicable law mandate that this

  Court duly confirm the Final Award.

  C.     Plaintiff’s Complaint Should Be Dismissed Based on the Principles of
         Res Judicata and Collateral Estoppel

         Cromogen also moves for the dismissal of Plaintiff’s Complaint pursuant to Federal Rule

  of Civil Procedure 12(b)(6) for failure to state a claim for which relief can be granted. Quite

  clearly, the claims asserted by Plaintiff, which are based on the business relationship predicated

  on a contract between the parties, are matters that were or could have been raised in the

  arbitration. Arbitration has a preclusive effect on all of the Plaintiff’s claims. As such, Plaintiff’s

  Complaint should be dismissed based on the principles of res judicata and collateral estoppel.

         1.         Res Judicata Applies to the Claims Brought by the Plaintiff in this Action

         “Res judicata is a doctrine of claim preclusion; it refers to ‘the preclusive effect of a

  judgment in foreclosing relitigation of matters that should have been raised in an earlier suit.’”




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  Hart v. Yamaha–Parts Distrib., Inc., 787 F.2d 1468, 1470 (11th Cir. 1986) (quoting Migra v.

  Warren City School Dist. Bd. of Educ., 465 U.S. 75, 77 n. 1, (1984)). The purpose behind the

  doctrine “is that the ‘full and fair opportunity to litigate protects a party’s adversaries from the

  expense and vexation of attending multiple lawsuits, conserves judicial resources, and fosters

  reliance on judicial action by minimizing the possibility of inconsistent decisions.’ ” Ragsdale v.

  Rubbermaid, Inc., 193 F.3d 1235, 1238 (11th Cir. 1999) (quoting Montana v. United States, 440

  U.S. 147 (1979)). “Claim preclusion ‘extends not only to the precise legal theory presented in the

  previous litigation, but to all legal theories and claims arising out of the same operative nucleus

  of fact.’” Hart, 787 F.2d at 1470 (quoting Olmstead v. Amoco Oil Co., 725 F.2d 627, 632 (11th

  Cir. 1984)).

          The doctrine of res judicata applies with the same force to arbitral awards, similar to

  judgments entered by a court. Greenblatt v. Drexel Burnham Lambert, Inc., 763 F.2d 1352 (11th

  Cir. 1985) (“[T]he determination of issues in an arbitration proceeding should generally be

  treated as conclusive in subsequent proceedings.”); City of Gainesville, Fla. v. Island Creek Coal

  Sales Co., 618 F.Supp. 513, 517 (N.D. Fla. 1984) (“Valid arbitration decisions are accorded res

  judicata and collateral estoppel effect.”).

          A party seeking to invoke the doctrine of res judicata must establish four elements: “(1)

  the prior decision must have been rendered by a court of competent jurisdiction; (2) there must

  have been a final judgment on the merits; (3) both cases must involve the same parties or their

  privies; and (4) both cases must involve the same causes of action.” In re Piper Aircraft Corp.,

  244 F.3d 1289, 1296 (11th Cir. 2001). A court should also determine “whether the claim in the

  new suit was or could have been raised in the prior action; if the answer is yes, res judicata

  applies.” Id.




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         All four elements of res judicata are established in this case. First, the Arbitral Tribunal

  clearly was a court of competent jurisdiction pursuant to the Arbitration Clause of the

  Distributorship Agreement concluded between Plaintiff and Defendant Cromogen. Second, there

  is also no dispute that the Final Award is tantamount to a final judgment on the merits for the

  purposes of res judicata. Third, privity includes a variety of circumstances including where the

  parties were officers, director, or affiliates of the party in the proceedings where the original

  claims have been litigated. See Freecharm Ltd. v. Atlas Wealth Holdings Corp., No. 11-20003-

  CIV, 2011 WL 4591929, at *7 (S.D. Fla. Sept. 30, 2011), aff'd, 499 F. App'x 941 (11th Cir.

  2012) (holding that the doctrine of res judicata precludes plaintiff from asserting liability against

  defendants for the actions of their subsidiaries through their direction, control and management

  of the parent company, while simultaneously arguing that there is no privity between the parties;

  also precluding claims against individual defendants acting in their capacities solely as officers

  for the defendant company). Fourth, causes of actions in this litigation and the JAMS arbitration

  arose out of the same nucleus of operative facts that is a contract pursuant to which Defendant

  Cromogen appointed Plaintiff as its distributor of CBD-rich hemp oil. See Davila v. Delta Air

  Lines, Inc., 326 F.3d 1183 (11th Cir. 2003) (citing In re Piper, 244 F.3d at 1297). Finally, all of

  the claims brought in this lawsuit were or could have been brought in the arbitration.

         2.      Plaintiff’s Claims Are Precluded by Collateral Estoppel

         For the same reasons, Plaintiff’s claims are barred by the doctrine of collateral estoppel,

  which applies where: (1) the issue at stake is identical to the one alleged in the prior action; (2)

  the issue was actually litigated in the prior action; (3) the determination of the issue in the prior

  litigation was a critical and necessary part of the judgment in the prior action; and (4) the party

  against whom the earlier decision is asserted must have had a full and fair opportunity to litigate

  the issue in the prior action. Greenblatt, 763 F.2d at 1360. All of the issues raised by Plaintiff in



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  this litigation—breach of the contract between the parties, delivery of the product, identification

  of the product subject to the contract, invoice issued by Impact UA, Inc.—were effectively

  adjudicated by the Tribunal. Plaintiff fully and fairly litigated those issues in arbitration. The

  determination of these issues were necessary for the Tribunal to issue the Final Award.

  Accordingly, Plaintiff’s claims are barred by the doctrine of collateral estoppel.

  C.       Cromogen is Entitled to Prejudgment Interest

           Cromogen requests that the Court award prejudgment interest on the arbitration award as

  parties are generally entitled to prejudgment interest on the award from the date of the award

  through the date of entry of judgment by the court. The Final Award specifically awards post-

  award interest to Cromogen. Final Award ¶¶ 142-144, 148. Federal courts confirming arbitration

  awards have routinely allowed post-award, prejudgment interest. See, e.g., Carey Rodriguez

  Greenberg & Paul, LLP v. Arminak, 583 F.Supp.2d 1288, 1292 (S.D. Fla. 2008); In re

  Arbitration Between Westchester Fire Ins. Co. v. Massamont Ins. Agency, Inc., 420 F.Supp.2d

  223, 226 (S.D.N.Y. 2005) (“Post-award, prejudgment interest is generally awarded at the

  discretion of the district court, and there is a presumption in favor of awarding such interest.”).

           Accordingly, Cromogen is entitled to prejudgment interest as set forth in the Final

  Award.

  D.       Cromogen is Entitled to Attorneys’ Fees

           Defendants should be awarded their attorneys’ fees. See Swiss Inst. of Bioinformatics v.

  Global Initiative on Sharing all Influenza Data, 49 F. Supp. 3d 92, 98 (D.D.C. 2014) (“a party

  seeking to confirm a foreign arbitral award under the New York Convention may recover

  reasonable attorneys’ fees and costs, at least where the respondent unjustifiably refused to abide




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  by the arbitral award.”).6 Here, Plaintiff has unjustifiably refused to satisfy the award despite

  being requested to do so. Cromogen is being compelled to file this Motion to secure the relief

  that Plaintiff should have voluntarily provided. Accordingly, Cromogen is entitled to an award of

  attorneys’ fees in connection with this action to confirm arbitral award, in an amount to be set

  forth in subsequent submissions.

                                          CONCLUSION

         For the foregoing reasons, Cromogen respectfully requests that this Court enter an Order

  to re-open this case and lift the stay, confirm the award, enter judgment thereon, and dismiss this

  case. A copy of the proposed Order granting this Motion to Re-Open the Case, Lift Stay,

  Confirm Arbitral Award, and dismissing the case is attached hereto as Exhibit “C.”




         6
            See Emp’r Ins. of Wausu v. Banco De Seguros Del Estado, 199 F.3d 937, 942 (7th Cir.
  1999) (holding that the court looks to case law construing the meaning of the New York Conven-
  tion as a means to interpret the Panama Convention).



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                       CERTIFICATE OF GOOD FAITH CONFERENCE

         Pursuant to Local Rule 7.1(a)(3), I hereby certify that counsel for the movant has

  conferred with all parties or non-parties who may be affected by the relief sought in this motion

  in a good faith effort to resolve the issues raised in the motion and has been unable to do so.

  Dated: August 16, 2018
                                                /s/ M. Derek Harris
                                                M. Derek Harris
                                                Florida Bar No. 097071
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                                                re-opened

                                                Attorneys for Defendant




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                                      CERTIFICATE OF SERVICE

             I hereby certify that on this day I electronically filed the foregoing document with the

  Clerk of Court by using the CM/ECF system, which will send a notice of electronic filing to all

  parties.

             Dated: August 16, 2018

                                                         /s/ M. Derek Harris
                                                         M. Derek Harris
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